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AO 245B-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case



                                   United States District Court
                                           Eastern District of California

          UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                     v.                                                 (For Offenses Committed On or After November 1, 1987)
            RONALD M. WILKOWSKI                                         Case Number: 1:11CR00428-001


                                                                        Anthony P. Capozzi
                                                                        Defendant’s Attorney

THE DEFENDANT:
[U]      pleaded guilty to count(s): ONE of the Indictment .
[]       pleaded nolo contendere to counts(s)      which was accepted by the court.
[]       was found guilty on count(s)    after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                           Date Offense             Count
Title & Section                     Nature of Offense                                      Concluded                Number(s)
21 USC 846, 841(a)(1) and           Conspiracy to Distribute and Possess with              04/01/2011 to            One
(b)(1)(C)                           Intent to Distribute Oxycodone (“OxyContin”)           11/30/2011



       The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       The defendant has been found not guilty on counts(s)          and is discharged as to such count(s).

[U]      Count(s) TWO, FOUR, FIVE, SIX, & SEVEN of the Indictment dismissed on motion of the United States.

[]       Indictment is to be dismissed by District Court on motion of the United States.

[]       Appeal rights given.                          [U]      Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
attorney of material changes in economic circumstances.

                                                                                            11/25/2013
                                                                                  Date of Imposition of Judgment


                                                                                      /s/ Lawrence J. O’Neill
                                                                                    Signature of Judicial Officer


                                                                     LAWRENCE J. O’NEILL, United States District Judge
                                                                            Name & Title of Judicial Officer

                                                                                               12/06/2013
                                                                                                  Date
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AO 245B-CAED (Rev. 09/2011) Sheet 4 - Probation
CASE NUMBER:                1:11CR00428-001                                                                             Judgment - Page 2 of 5
DEFENDANT:                  RONALD M. WILKOWSKI



                                                           PROBATION
         The defendant is hereby sentenced to probation for a term of 36 months.


The defendant shall not commit another federal, state, or local crime.


The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release on probation and at least two periodic drug tests
thereafter, not to exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of future
         substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
         applicable.)

[U]      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
         seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or
         she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
      permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
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AO 245B-CAED (Rev. 09/2011) Sheet 4 - Probation
CASE NUMBER:               1:11CR00428-001                                                                    Judgment - Page 3 of 5
DEFENDANT:                 RONALD M. WILKOWSKI




                                 SPECIAL CONDITIONS OF SUPERVISION
         1.   The defendant shall submit to the search of his person, property, home, and vehicle by a United States
              probation officer, or any other authorized person under the immediate and personal supervision of the
              probation officer, based upon reasonable suspicion, without a search warrant. Failure to submit to a
              search may be grounds for revocation. The defendant shall warn any other residents that the premises
              may be subject to searches pursuant to this condition.

         2.   The defendant shall provide the probation officer with access to any requested financial information.

         3.   As directed by the probation officer, the defendant shall participate in an outpatient correctional
              treatment program to obtain assistance for drug or alcohol abuse.

         4.   As directed by the probation officer, the defendant shall participate in a program of testing (i.e. breath,
              urine, sweat patch, etc.) to determine if he has reverted to the use of drugs or alcohol.

         5.   The defendant shall be prohibited from using prescription marijuana and/or Marinol.

         6.   The defendant shall advise any prescribing physician of his previous dependency to opiates, including
              oxycodone (“OxyContin”), and shall provide the probation officer with written advisement.

         7.   The defendant shall not possess or have access to any paging device or cellular phone without the
              advance permission of the probation officer. The defendant shall provide all billing records for such
              devices, whether used for business or personal, to the probation officer upon request.

         8.   The defendant shall abstain from the use of alcoholic beverages and shall not frequent those places
              where alcohol is the chief item of sale.

         9.   As directed by the probation officer, the defendant shall participate in a program of outpatient mental
              health treatment.

         10. As directed by the probation officer, the defendant shall participate in a co-payment plan for treatment
             or testing and shall make payment directly to the vendor under contract with the United States Probation
             Office of up to $25 per month.

         11. The defendant shall register, as required in the jurisdiction in which he resides, as a drug offender.

         12. The defendant shall be monitored for a period of 12 months, with location monitoring technology, which
             may include the use of radio frequency (RF) or Global Positioning System (GPS) devices, at the
             discretion of the probation officer. The defendant shall all abide by all technology requirements and shall
             pay the costs of location monitoring as directed by the probation officer. In addition to other court-
             imposed conditions of release, the defendant’s movement in the community shall be restricted as directed
             by the probation officer.

              The defendant shall be restricted to his residence at all times except for employment; education; religious
              services; medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-
              ordered obligations; or other activities as pre-approved by the probation officer.
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AO 245B-CAED (Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  1:11CR00428-001                                                                            Judgment - Page 4 of 5
DEFENDANT:                    RONALD M. WILKOWSKI


                                          CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                    Assessment                           Fine                   Restitution
      Totals:                                        $ 100.00                          $ Waived                   $ N/A


[]    The determination of restitution is deferred until            . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

[]    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
      specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i),
      all nonfederal victims must be paid before the United States is paid.



Name of Payee                                        Total Loss*                  Restitution Ordered Priority or Percentage


      TOTALS:                                            $                               $




[]    Restitution amount ordered pursuant to plea agreement $

[]    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
      before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
      Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[]    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      [ ] The interest requirement is waived for the                   [ ] fine          [ ] restitution

      [ ] The interest requirement for the                   [ ] fine [ ] restitution is modified as follows:




[]    If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter
      and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.

[]    If incarcerated, payment of restitution is due during imprisonment at the rate of not less than $25 per quarter
      and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.




  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
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AO 245B-CAED (Rev. 3/04) Sheet 6 - Schedule of Payments
CASE NUMBER:                 1:11CR00428-001                                                                   Judgment - Page 5 of 5
DEFENDANT:                   RONALD M. WILKOWSKI

                                                 SCHEDULE OF PAYMENTS


     Payment of the total fine and other criminal monetary penalties shall be due as follows:

A    [U]           Lump sum payment of $            100.00 immediately, balance due

           []      not later than  , or
           []      in accordance with            [ C,     [ D,   [ E, or [ F below; or

B    [ ] Payment to begin immediately (may be combined with              [ C,    [ D, or [ F below); or

C    [ ] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of           (e.g., months or years),
         to commence     (e.g., 30 or 60 days) after the date of this judgment; or

D    [ ] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of (e.g., months or years),
         to commence     (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E    [ ] Payment during the term of supervised release will commence within     (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
         time; or

F    [ ] Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[]   Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:



[]   The defendant shall pay the cost of prosecution.

[]   The defendant shall pay the following court cost(s):

[U] The defendant shall forfeit the defendant’s interest in the following property to the United States:

     - The Preliminary Order of Forfeiture filed 05/31/2013, is hereby made final and incorporated into this judgment.
